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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA



CHERYL SAGATAW, DEANTHONY
BARNES, ROBERTA STRONG,
TRAVIS NELOMS, ALVIN
BUTCHER, ADRIAN TIGER,
CHANCE ASKENETTE, DEVEN                                Civil Action No.
CASTON, LOLA HEGSTROM, and                         0:24-cv-00001-ECT/TNL
RONDEL APPLEBEE on behalf of
themselves and a class of
similarly-situated individuals,             [PROPOSED] ORDER GRANTING
                                                 MOTION TO AMEND
                                             OPERATIVE COMPLAINT AND
                           Plaintiffs,           TO ADD PLAINTIFFS

          vs.


MAYOR JACOB FREY, in his
individual and official capacity,

                           Defendant.



This case is before the Court on Plaintiffs’ Motion to Amend Operative Complaint

and to Add Plaintiffs. Based on the filings, records, and proceedings, Plaintiffs’

Motion to Amend Operative Complaint and to Add Plaintiffs is GRANTED.

      IT IS HEREBY ORDERED:

   1. The Plaintiffs shall file their Second Amended Complaint, attached as

      Exhibit A to ECF No. 81, on or before September 30, 2024.
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  2. Defendants shall answer or otherwise respond to the Second Amended

     Complaint on or before October 21, 2024.




Date:____________________          _______________________________
                                   Tony N. Leung
                                   United States Magistrate Judge
